

Matter of King v Ross (2018 NY Slip Op 05127)





Matter of King v Ross


2018 NY Slip Op 05127


Decided on July 10, 2018


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 10, 2018

Friedman, J.P., Gische, Kahn, Singh, Moulton, JJ.


7099 5848/15 -1940] 146/18

[*1]In re Sharif King, Petitioner,
vHon. Neil Ross, etc., Respondent.


Sharif King, petitioner pro se.
Barbara D. Underwood, Attorney General, New York (Allison J. Gill of counsel), for respondent.



The above-named petitioner having presented an application to this Court praying for an order, pursuant to article 78 of the Civil Practice Law and Rules,
Now, upon reading and filing the papers in said proceeding, and due deliberation having been had thereon,
It is unanimously ordered that the application be and the same hereby is denied and the petition dismissed, without costs or disbursements.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: JULY 10, 2018
CLERK








